      Case 3:20-cv-05263-TKW-EMT Document 90 Filed 06/10/21 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

HENRY CONNER,
    Plaintiff,
vs.
                                                CASE NO. 3:20cv5263-TKW/EMT
CENTURION OF FLORIDA, LLC, et al.,
     Defendants.
________________________________/

                 PLAINTIFF’S NOTICE OF SETTLEMENT
      Plaintiff Henry Conner hereby notifies this Honorable Court that the parties

have reached a settlement in principle. The settlement documents are currently being

prepared, and the parties will file a Stipulation of Dismissal with Prejudice upon

consummation of the settlement.

      Respectfully submitted this 10th day of June, 2021.

                                           TEIN MALONE PLLC
                                           Counsel for Plaintiff

                                           /s/ Gaye L. Huxoll ________
                                           Allan B. Kaiser
                                           Florida Bar No. 594628
                                           akaiser@teinmalone.com
                                           Michael R. Tein
                                           Florida Bar No. 993522
                                           tein@teinmalone.com
                                           T. Omar Malone
                                           Florida Bar No. 697796
                                           omalone@teinmalone.com
                                           Gaye L. Huxoll
                                           Florida Bar No. 149497
                                           ghuxoll@teinmalone.com
                                           (305) 442-1101
